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AO 2458 (Mod, O/NJ 12106) Sheet 1 • Judgment in a Criminal Case




                                                           UNITED STATES DISTRICT COURT
                                                                 District of New Jersey

  UNITED STATES OF AMERICA

              V.                                                            CASE NUMBER      3:20-CR-00952-ZNQ-1
 MARTIN EAGAN

            Defendant.

                                                          JUDGMENT IN A CRIMINAL CASE
                                               (For Offenses Committed On or After November 1, 1987)


            The defendant, MARTIN EAGAN, was represented by JOHN C. WHIPPLE. ESQ.

The defendant pleaded guilty to count 1 of the INFORMATION on 12/17/2021.                 Accordingly, the court has adjudicated that
the defendant is guilty of the following offense:

                                                                                                                      Count
 Title & Section                Nature of Offense                                             Date of Offense         Number

 18:1349                         CONSPIRACY TO COMMIT BANK FRAUD                              DOF 8/2007 - 5/2010 1


       As pronounced on June 09, 2022, the defendant is sentenced as provided in pages 2 through 8 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

         It is ordered that the defendant must pay to the United States a special assessment of $100.00 for count 1, which
shall be due immediately. Said special assessment shall be made payable to the Clerk, U.S. District Court.

        It is further ordered that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of any
material change in economic circumstances.

            Signed this 9th day of June 2022.

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AO 245B (Mod. D/NJ 12106) Sheet 3 • Supervised Release


                                                                                             Judgment - Page 3 of 8
Defendant: MARTIN EAGAN
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                                                         SUPERVISED RELEASE
              Upon release from imprisonment, you will be on supervised release for a term of 1 year.

         Within 72 hours of release from custody of the Bureau of Prisons, you must report in person to the Probation Office
in the district to which you are released.

         While on supervised release, you must not commit another federal, state, or local crime, must refrain from any
unlawful use of a controlled substance and must comply with the mandatory and standard conditions that have been adopted
by this court as set forth below.

        Based on information presented, you are excused from the mandatory drug testing provision, however, you may be
requested to submit to drug testing during the period of supervision if the probation officer determines a risk of substance
abuse.

            You must cooperate in the collection of DNA as directed by the probation officer

        If this judgment imposes a fine, special assessment, costs, or restitution obligation, it is a condition of supervised
release that you pay any such fine, assessments, costs, and restitution that remains unpaid at the commencement of the
term of supervised release.

            You must comply with the following special conditions:

            FINANCIAL DISCLOSURE

            Upon request, you must provide the U.S. Probation Office with full disclosure of your financial records, including co­
            mingled income, expenses, assets and liabilities, to include yearly income tax returns. With the exception of the
            financial accounts reported and noted within the presentence report, you are prohibited from maintaining and/or
            opening any additional individual and/or joint checking, savings, or other financial accounts, for either personal or
            business purposes, without the knowledge and approval of the U.S. Probation Office. You must cooperate with the
            U.S. Probation Officer in the investigation of your financial dealings and must provide truthful monthly statements
            of your income. You must cooperate in the signing of any authorization to release information forms permitting the
            U.S. Probation Office access to your financial records.

            NEW DEBT RESTRICTIONS

           You are prohibited from incurring any new credit charges, opening additional lines of credit, or incurring any new
           monetary loan, obligation, or debt, by whatever name known, without the approval of the U.S. Probation Office. You
           must not encumber or liquidate interest in any assets unless it is in direct service of the fine and/or restitution
           obligation or otherwise has the expressed approval of the Court.

            SELF-EMPLOYMENT/BUSINESS DISCLOSURE

           You must cooperate with the U.S. Probation Office in the investigation and approval of any position of self­
           employment, including any independent, entrepreneurial, or freelance employment or business activity. If approved
           for self-employment, you must provide the U.S. Probation Office with full disclosure of your self-employment and
           other business records, including, but not limited to, all of the records identified in the Probation Form 48F (Request
           for Self Employment Records), or as otherwise requested by the U.S. Probation Office.
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